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SISSY GIRTMAN
205 River Road * P.O. Box 75
Carrabelle, FL 32322
(406) 660-0760 * sdgirtman@3rivers.net

June 20, 2021

TO: Joe Bergtoll / i, yn
FROM: _ Sissy Girtman yt “4 Ye LEL SMA
RE: Milk River Property at

lt was good to talk to you the other day.

You specifically asked me about any document | may have regarding an easement from the Railroad
for the entry/driveway into the property we formerly owned on Highway 2/Mile Marker 551.

| have looked through the file boxes | have and only found a few documents or correspondence after
we sold to Kevin Moore and co-buyers. Since this was 20+/- years ago I’m pretty sure all has been
destroyed.

The driveway was there when we purchased from the Sylvesters in 1997 and | don’t know how long
they owned it.

Matt Knierim prepared the Contract for Deed dated October 25, 2001 for the sale of the property to
Moore, et al.

| have attached a Notice of Default dated August 5, 2002 for the purpose of showing the names of the
initial buyers from us (Moore, Travis, Mihram, Kruppa). There is an ‘Exhibit A’ attached which is the
legal description as included in the Policy of Title insurance, Policy No. 835859, Order No. 3290 —
prepared by Valley Abstract & Title Company, Glasgow, MT. .

At some point Mihram and Kruppa were bought out and Kirk Scoggins of Whitefish, Montana came
into the picture.

| believe this is current info for Kirk Allan Scoggins:
c/o Great Northern Holdings, LLC; 35 Green PI., Whitefish, MT 59937-3232
His mother is Rebecca Scoggins also of Whitefish.

Their attorney was:

Vincent G. Rieger; 4 Meridian Court, Kalispell, MT 59901. (406) 755-9552

File: MilkRiverinfo.doc

EXHIBIT

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